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                          EXHIBIT F
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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                        Case No. 9:19-cv-81160
    APPLE INC.,
                        Plaintiff,
            v.

    CORELLIUM, LLC,

                        Defendant.




            DEFENDANT’S NOTICE OF SERVING FIFTH AMENDED ANSWERS
                 TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

          Defendant Corellium, LLC (“Corellium”), by and through undersigned counsel, pursuant

   to the Federal Rules of Civil Procedure, hereby files this Notice of Serving Fifth Amended

   Answers to Plaintiff, Apple Inc.’s (“Apple”), First Set of Interrogatories.

    Dated: April 18, 2020                            Respectfully submitted,

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                                                     and


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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 18 day of April, 2020, a true and correct copy of the

   foregoing document has been furnished via email to counsel of record identified below.

                                         /s/ Justin B. Levine
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             DEFENDANT’S FOURTH AMENDED ANSWERS TO PLAINTIFF’S
                       FIRST SET OF INTERROGATORIES

                                        XXX = Confidential
                                     XXX = Attorney’s Eyes Only

   INTERROGATORY NO. 1: Identify each version, release, update, or patch, (including any
   alpha or beta versions) of the Corellium Apple Product, including for the cloud-based Corellium
   Apple Product and all private installations of the Corellium Apple Product, with a description of
   the changes made in each successive version.

          ANSWER:              Corellium objects to this request as it seeks disclosure of proprietary and
          trade secret information regarding Corellium’s product. Specifically, this Interrogatory
          seeks detailed and technical information that comprises portions of innovative technology
          that is at issue in this case. Therefore, Corellium responds only under the protection of the
          Protective Order under Fed. R. Civ. P.26(c).

          Corellium objects to this Interrogatory in that it is intended to annoy or harass Corellium
          and its officers, employees, agents, representatives, and other persons acting, or purporting
          to act on behalf of Corellium. The information sought is not necessary for Plaintiff to
          establish any of its claims, as it is Corellium’s product in general and the virtual display of
          iOS that Apple takes issue with.

          Corellium states as follows:




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    INTERROGATORY NO. 2: Separately for each version or installation of the Corellium Apple
    Product Identified in Interrogatory No. 1, fully describe the functional flow for the Corellium Apple
    Product, including at least: a) all steps a user takes to set up and access the Corellium Apple
    Product; b) how the user creates a new Virtual Device; c) how an existing Virtual Device is saved;
    d) how the user accesses a saved Virtual Device; e) how a user interacts with a Virtual Device
    created in Corellium Apple Product; and f) how the GUI Elements are determined and displayed
    to the user.



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                           DECLARATION UNDER PENALTY OF PERJURY
           I, Amanda Gorton as the authorized representative and on behalf of Corellium, LLC,

    declare under penalty of perjury under the laws of the United States of America that the foregoing

    Fifth Amended Answers to Apple, Inc.’s First Set of Interrogatories are true and correct. Executed

    on April 18, 2020.



                                                 _________________________________
                                                 AMANDA GORTON

                                                 AS THE AUTHORIZED REPRESENTATIVE
                                                 AND ON BEHALF OF CORELLIUM, LLC.
